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                        EXHIBIT 3
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From:             Robert A. Braun
To:               Bierig, Jack R.; Wahl, Suzanne L.
Subject:          [EXT] Realtors: Following Up
Date:             Tuesday, September 28, 2021 10:39:01 PM
Attachments:      image001.jpg
                  mg_info.txt


Jack and Suzanne,
I’m following up on a couple of issues that we discussed last week:
    1. In the interests of cooperating with and reducing the burden on NAR and its current
        employees, the Moehrl Plaintiffs intend to depose Kevin Milligan, Dale Stinton, Bob Goldberg,
        Cliff Niersbach, and Rodney Gansho on the dates previously noticed by the plaintiffs in the
        Sitzer action. We are participating in these depositions based on the understanding that,
        consistent with Mr. Bierig’s recent representations to the Court, “[if] there is some
        information that is provided to plaintiffs after these depositions . . . and Mr. Braun or his
        colleagues would like to have a follow-up deposition limited to certain things that have
        emerged that they didn't know at the time of the depositions, we will certainly work with Mr.
        Braun and his colleagues to try to accommodate them.” Sept. 22, 2021 Hr’g Tr. 31:5-12.
    2. On September 16, 2021, we requested that NAR produce: (i) the “2005 scenario project,” also
        sometime referred to as the “the Little Report” and (ii) all documents (including agreements)
        responsive to RFP No. 33 (or to confirm that all such documents have been produced).
             a. On our 9/20 call, you indicated that NAR would likely be willing to produce the “2005
                scenario project,” and, during the 9/22 status conference, you confirmed to the Court
                that NAR would produce this document. Sept. 22, 2021 Hr’g Tr. 15:21-22. Please advise
                when NAR intends to produce the “2005 scenario project.”
             b. During our 9/20 conversation, you objected on burden grounds to producing all
                documents responsive to Request No. 33, but indicated that NAR would be willing to
                consider a narrowed version of this Request. As a compromise, Plaintiffs request that
                NAR produce: All agreements made since January 1, 2014 relating to Realtor.com or
                Upstream, and all Communications, reports, studies, or strategy documents relating to
                those agreements. This compromise proposal significantly narrows both the time
                period and substantive scope of our request.
                   We further observe that the requested agreements and other responsive documents
                   should independently been produced in response to our other document requests
                   to the extent that they touch upon inter alia: the use of NAR’s trade names or
                   trademarks (RFP 3); restricting display or publication to consumers of compensation
                   offered by listing brokers to cooperating brokers (RFP 10(a)); requiring listing brokers
                   to make an offer of compensation to buyer brokers (RFP 10(b)); restricting, limiting,
                   or prohibiting the copyrighting, distribution, sale, resale or syndication of MLS data
                   (RFP 10(k)); the Challenged Restraints or the amount or type of compensation
                   Brokers seek or obtain for providing real estate services (RFP 21); the role of MLSs in
                   the market for Real Estate Services and any actual or potential competitors of or
                   alternatives to MLSs (RFP 25). Please confirm that NAR collected and reviewed these
                   documents (including from central files) in order to assess their responsiveness to
                   these document requests.
    3. Please produce meeting minutes for and any reports produced by the NAR’s Strategic
        Thinking Advisory Committee (and its predecessor the Strategic Planning Committee), the
        Large Firms Directors Forum (and any predecessors), and the Real Estate Services (RES)
        Advisory Group (and any predecessors). These are responsive to Requests 6, 19, 25, 34, and
        39. The Strategic Thinking Advisory Committee’s self-described mission is to “[t]o identify and
        gather data that may affect the future of the National Association of REALTORS®, and to
        monitor and research threats, opportunities, key trends and issues, particularly from the fields
        that may impact the industry, our members, the Association, and the real estate consumer.”
        For example, consistent with its mission, the Strategic Thinking Advisory Committee
        commissioned the DANGER Report, which addresses numerous issues that are relevant to the
        litigation, including real estate commissions and competition with MLSs. The Large Firms
        Directors Forum (and any predecessors), and the Real Estate Services (RES) Advisory Group
        are likewise relevant because they were vehicles for the Corporate Defendants to influence
        NAR policy and meet with senior NAR officials. Collecting and producing these meeting
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          minutes and reports from NAR’s central files should not be unduly burdensome.
Best,
Robby
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